     Fill 23-10590-hcm           Doc#1your
          in this information to identify Filed
                                           case: 08/01/23          Entered 08/01/23 08:30:08 Main Document Pg 1 of 8
     United States Bankruptcy Court for the:

     ____________________
     Western               District of _________________
              District of Texas        (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                             Chapter 7
                                                            
                                                            ✔ Chapter 11
                                                             Chapter 12                                                                 Check if this is an
                                                             Chapter 13                                                                    amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Fulton  Mercer Corporation
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          dba  Jones Florist
                                           ______________________________________________________________________________________________________
      in the last 8 years                  dba  Heritage Funeral Homes
                                           ______________________________________________________________________________________________________
                                           dba  Heritage Flower Shop
                                           ______________________________________________________________________________________________________
      Include any assumed names,
      trade names, and doing business
                                           dba  Heritage Crematory
                                           ______________________________________________________________________________________________________
      as names                             ______________________________________________________________________________________________________
                                           dba  Davis Morris Chapel



3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               300 North Bridge St.                                     _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Brady                       TX      76825
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               McCulloch County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                www.heritagefuneraltx.com
                                           ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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                Fulton Mercer Corporation
Debtor          _______________________________________________________                       Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            812210
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                      tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                    
                                                          ✔
                                                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                          of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When              __________________
      List all cases. If more than 1,                                                                                       MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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               Fulton Mercer Corporation
Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




11. Why is the case filed in this         Check all that apply:
   district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ✔

                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have           
                                          ✔ No
   possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                     Other _______________________________________________________________________________


                                                    Where is the property?_____________________________________________________________________
                                                                                Number       Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________      _______     ________________
                                                                                City                                         State       ZIP Code


                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________
                                                             Contact name       ____________________________________________________________________

                                                             Phone              ________________________________




          St a t ist ic a l a nd a dm inist ra t ive informa t ion



13. Debtor’s estimation of                Check one:
   available funds                         Funds will be available for distribution to unsecured creditors.
                                           ✔


                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                           1-49
                                           ✔
                                                                             1,000-5,000                             25,001-50,000
14. Estimated number of
                                           50-99                            5,001-10,000                            50,001-100,000
   creditors
                                           100-199                          10,001-25,000                           More than 100,000
                                           200-999

                                           $0-$50,000                       $1,000,001-$10 million
                                                                            ✔
                                                                                                                      $500,000,001-$1 billion
15. Estimated assets
                                           $50,001-$100,000                 $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                           $100,001-$500,000                $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million              $100,000,001-$500 million               More than $50 billion



 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
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             Fulton Mercer Corporation
Debtor       _______________________________________________________                            Case number (if known)_____________________________________
             Name



                                          $0-$50,000                         $1,000,001-$10 million
                                                                                 ✔
                                                                                                                        $500,000,001-$1 billion
16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


           Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                             petition.
   debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            08/01/2023
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Jason Wayne Fulton
                                             _____________________________________________               Jason Wayne Fulton
                                                                                                        _______________________________________________
                                             Signature of authorized representative of debtor           Printed name

                                                    President
                                             Title _________________________________________




18. Signature of attorney
                                          /s/ Amy Wilburn
                                             _____________________________________________              Date         08/01/2023
                                                                                                                     _________________
                                              Signature of attorney for debtor                                       MM   / DD / YYYY



                                              Amy Wilburn
                                             _________________________________________________________________________________________________
                                             Printed name
                                              Lincoln Goldfinch Law
                                             _________________________________________________________________________________________________
                                             Firm name
                                              1005 E 40th St
                                             _________________________________________________________________________________________________
                                             Number     Street
                                              Austin
                                             ____________________________________________________             TX            78751
                                                                                                            ____________ ______________________________
                                             City                                                           State        ZIP Code

                                              512. 599.8500
                                             ____________________________________                              amy@lincolngoldfinch.com
                                                                                                            __________________________________________
                                             Contact phone                                                  Email address



                                              49583                                                           WA
                                             ______________________________________________________ ____________
                                             Bar number                                             State




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               Fulton Mercer Corporation

 Debtor                                                            _                  Case number (if known)
              First Name     Middle Name   Last Name



                                               Continuation Sheet for Official Form 201

4) Debtor's Addresses

Business                                                     1901 W. Wallace St. San Saba, TX
                                                             76877, San Saba County

Business                                                     905 Bevans St.            Menard, TX 76859,
                                                             Menard County

Business                                                     401 N Key Ave Lampasas, TX 76550,
                                                             Lampasas County

Business                                                     800 Center Ave            Brownwood, TX 76801,
                                                             Brown County




   Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy
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  Ally                                      Federated Insurance
  PO Box 9001948                            PO Box 95231
  Louisville, KY 40290-1948                 Chicago, IL 60694-5231


  American Hallmark                         First Business Bank
  PO Box 901089                             401 Charmany Dr
  Fort Worth, TX 76101-2089                 Madison, WI 53719


  Amex                                      Grasshopper Bank
  PO Box 7871                               915 Broadway
  Fort Lauderdale, FL 33329                 7th Floor
                                            New York, NY 10010

  Aramark
  22808 Network Place                       Incredible Bank
  Chicago, IL 60673-1228                    P.O.Box 777
                                            Wausau, WI 54402

  Batesville Casket Company
  PO Box 644559                             Infiniti
  Pittsburgh, PA 15264-4559                 PO Box 740849
                                            Cincinnatti, OH 45274-0849

  Brown County Broadcasting
  PO Box 280                                Internal Revenue Service
  Brownwood, TX 76804                       Centralized Insolvency Operations
                                            PO Box 7346
                                            Philadelphia, PA 19101
  Brown County Tax Assessor Collector
  200 S Broadway St
  Brownwood, TX 76801                       James Mercer
                                            801 Point Run Drive
                                            Pflugerville, TX 78660
  Central Insurance
  PO Box 828
  Van Wert, OH 45891                        Jason Fulton
                                            1172 Naruna Rd
                                            Lampasas, TX 76550
  Chrysler Capital
  PO Box 660335
  Dallas, TX 75266-0335                     Jason Fulton
                                            801 Point Run Drive
                                            Pflugerville, TX 78660
  Citizens National Bank
  118 S. Houston
  Cameron, TX 76520                         Karl Quebe
                                            5400 Bosque Blvd
                                            Waco, TX 76710
  CPA Texas Tax
  PO Box 13528
  Capitol Station                           Lamar Companies
  Austin, TX 78711-3528                     PO BOX 746966
                                            Atlanta, GA 30374-6966

  Everest Business Funding
  8200 NW 52nd Terrace                      Lampasas Central Appraisal District
  2nd Floor                                 109 E 5th St
  Miami, FL 33166                           Lampasas, TX 76550
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  Lg Funding LLC
  1218 Union St
  Brooklyn, NY 11225


  Pablo Mendez
  505 W 3rd St
  Lampasas, TX 76550


  PNC Bank NA
  PO Box 747066
  Pittsburgh, PA 15274-7066


  Ronnie Holloway
  PO Box 33
  Pontotoc, TX 76869


  Santander Bank
  75 State Street
  Boston, MA 02109


  Texas Comptroller of Public Accts
  PO Box 13528
  Austin, TX 78711


  Total Office Solutions
  1601 N. Lee Ave
  Odessa, TX 79761


  United Healthcare
  PO Box 19032
  Green Bay, WI 54307-9032


  Wilbert
  5111 SE Loop 410
  San Antonio, TX 78222


  William Itza Hernandez
  c/o Hernandez Law Firm
  16850 Dallas Parkway
  Dallas, TX 75248


  William Itza Hernandez
  c/o Juan Law
  16850 Dallas Parkway
  Dallas, TX 75248


  Xerox Financial Services
  PO Box 202882
  Dallas, TX 75320-2882
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                               United States Bankruptcy Court
                                Western District of Texas




           Fulton Mercer Corporation
  In re:                                                         Case No.

                                                                 Chapter    11
                        Debtor(s)




                               Verification of Creditor Matrix



         The above-named Debtor(s) hereby verify that the attached list of creditors is
  true and correct to the best of their knowledge.




                 08/01/2023                       /s/ Jason Wayne Fulton
  Date:
                                                  Signature of Individual signing on behalf of debtor

                                                  President
                                                  Position or relationship to debtor
